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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                          )
 COMMISSION,                                      )
                                                  )
           Plaintiff,                             )
                                                  )       Case No.: 1:18-cv-02844-RDB
 v.                                               )
                                                  )
 KEVIN B. MERRILL, et al.,                        )
                                                  )
           Defendants.                            )


      RECEIVER GREGORY S. MILLIGAN’S MOTION TO APPROVE THE SALE OF
       AND PROCEDURES FOR THE SALE OF THE ASSETS OF DEVILLE ASSET
                           MANAGEMENT, LTD.

         Receiver Gregory S. Milligan (the “Receiver”), with the consent of the Securities and

Exchange Commission (the “SEC”) and the Office of the United States Attorney for the District

of Maryland (the “U.S. Attorney’s Office”), respectfully submits this Motion to Approve The Sale

of and Procedures for the Sale of The Assets of DeVille Asset Management, Ltd. (the “Motion”).

The facts and circumstances supporting this Motion are set forth in the Declaration of Gregory S.

Milligan (the “Milligan Declaration”), which is attached hereto as Exhibit A. In further support

of this Motion, the Receiver states as follows:

                                       I.     BACKGROUND

         1.        Pursuant to the Receiver’s Initial Preservation Plan, the Receiver has identified

DeVille Asset Management, Ltd. (“DeVille”) as property of the Receivership Estate. Dkt. No. 54,

at 8-9, 12-16. DeVille is in the business of purchasing and servicing consumer debt portfolios for

its own account. DeVille consists of tangible and intangible assets that the Receiver seeks Court

authority to sell in order to maximize the value of the Receivership Estate and recovery for

defrauded investors. The entirety of DeVille’s assets are referred to as the “DeVille Assets.”


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         2.        The Receiver seeks Court authority to offer all of DeVille’s Assets at a sealed bid

auction. DeVille’s Assets consist of its debt portfolios and its platform. The debt portfolios

include credit card debt, automobile loans, and student loans, among others (collectively the

“DeVille Portfolios”).       In addition, DeVille has an ongoing business operation that includes

hardware, software, leases, furniture, and other business assets (collectively the “DeVille

Platform”). See Dkt. 54 at 12; Ex. A, Milligan Declaration ¶ 7.

         3.        The DeVille Assets are not appreciating in value. The Receiver believes it is in the

best interest of the Receivership Estate to begin the process of soliciting buyers for the purchase

of the DeVille Assets. See Ex. A, Milligan Declaration at ¶ 8. To this end and pursuant to this

Court’s January 14, 2020 order, the Receiver retained Garnet Capital Advisors, LLC (“Garnet”),

a loan portfolio advisory business with significant experience in asset sales of residential,

commercial, and consumer loans, to aid him in the marketing and sale of the DeVille Assets. See

Dkt. 268. Among other things, Garnet has been retained to (i) estimate the value of the DeVille

Assets and (ii) assist the Receiver in marketing and selling the DeVille Assets. See Dkt. 266, 268.

         4.        The Receiver has consulted with Garnet regarding the impact COVID-19 may have

on the sale of DeVille’s Assets. After consulting with Garnet, the Receiver believes it is in the

best interest of the Receivership Estate to begin the process of soliciting and conducting the sale

of the DeVille Assets as the economy could continue to decline. See Ex. A, Milligan Declaration

at ¶¶ 8, 10. After discussing the various factors that could impact the sale of the DeVille Assets,

the Receiver and Garnet have concluded that it would be in the best interest of the estate to conduct

the sale during the third quarter of 2020 to take advantage of the pent up demand for assets like

the DeVille Portfolios caused by the artificial lack of supply of such assets for multiple months

related to COVID 19. However, given the uncertainty surrounding COVID-19, the Receiver



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requests the Court grant him discretion to postpone the sale and conduct it at a later date, beyond

the third quarter of 2020. In determining when the sale should occur and whether to postpone it,

the Receiver will incorporate Garnet’s expertise and its understanding of the distressed asset

market and will also rely on his business judgment and understanding of the Receivership Estate

to make such determination. Id. at ¶¶ 8-9.

          5.       The Receiver, with Garnet’s guidance, has prepared proposed procedures for the

sale of the DeVille Assets. See Ex. A, Milligan Declaration at ¶ 10.

          6.       Authorizing the sale and the procedures to sell the DeVille Assets is consistent with

the Receivership Order entered by this Court. The Receivership Order requires the Receiver to

“manage, control, operate, and maintain the Receivership Estate and hold in his possession,

custody, and control all Receivership Assets pending further Order of this Court.” Dkt. No. 62 at

¶ 8(D).

          7.       The Receivership Order further requires the Receiver to “take such action as

necessary and appropriate for the preservation of Receivership Assets or to prevent the dissipation

or concealment of Receivership Assets.” Dkt. No. 62 at ¶ 8(G).

          8.       The Receiver believes that the sale of the DeVille Assets as requested herein is in

the best interest of the Receivership Estate. The sales procedures detailed below will assist the

Receiver by allowing him to maximize the sales proceeds received from the sale of the DeVille

Assets while selling such property in an efficient and cost-effective manner. See Ex. A, Milligan

Declaration at ¶¶ 21-22.

                                    II.     RELIEF REQUESTED

          9.       The Receiver seeks Court authorization to adopt the sales procedures for the

DeVille Portfolios and the DeVille Platform (the “DeVille Sales Procedures”) set forth in this



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Motion and authorization to sell the DeVille Portfolios and DeVille Platform in accordance with

such procedures.

    A. Objections to The Sale of The DeVille Assets or the DeVille Sales Procedures

         10.       The Receiver is requesting Court authorization to sell the DeVille Assets and to

approve procedures for the sale of the DeVille Assets. Because of the relief requested and to

ensure all known parties of interest have sufficient time to assert any claims to the DeVille Assets

or opposition to the Motion, the Receiver proposes allowing all known parties of interest to have

up to thirty (30) days from the Motion’s filing date to respond to the Motion. Known parties of

interest are: (i) all counsel of record and/or pro se parties who have registered to receive electronic

service; (ii) all parties of record in this matter who have not registered to receive electronic service;

and (iii) any known individuals or entities who hold an ownership interest in DeVille (collectively

“Known Parties of Interest”).

         11.       Under the Local Rules, Known Parties of Interest would have fourteen days to file

any objections to the Motion. See Local Rule 105(2)(a). The United States District Court of

Maryland recently extended any deadline that was scheduled to fall between March 16, 2020 and

June 5, 2020 by eighty-four days (84) unless otherwise ordered by the presiding judge. See

Standing Order 2020-07, In re Court Operations Under the Exigent Circumstances Created by

COVID-19, No. 00-308, ECF No. 99 at 2. As this Standing Order recently expired and given the

relief requested, the Receiver requests that the Court order that any claims to the DeVille Assets

and any objections or opposition to the sale of the DeVille Assets or the DeVille Sales Procedures

must be filed by July 9, 2020, which is thirty (30) days from the date the Motion is filed.

    B. The DeVille Sales Procedures

         12.       The Receiver’s proposed DeVille Sales Procedures consist of the following:



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                   a.   Marketing the Sale.    Garnet will begin the sales process by widely

         announcing the sale of the DeVille Assets to approximately 3,000 individuals and entities

         (“Initial Announcement”). The Initial Announcement will be made to traditional hedge

         funds, lenders, and other debt buyers. Garnet’s Initial Announcement will be made via

         email and include an overview of the DeVille Assets and the anticipated sale timeline.

         Garnet will make targeted telephone calls to those who have articulated an interest in the

         DeVille Assets or whose business interests align with the acquisition of the DeVille Assets

         and make further targeted efforts to those it believes would be best suited and interested in

         acquiring the DeVille Assets. See Milligan Declaration at ¶ 12.

                   b.   Due Diligence. Following the Initial Announcement, Garnet will offer a

         due diligence period that will last a minimum of three weeks (“Due Diligence Period”).

         During the Due Diligence Period, Garnet will make available relevant information

         assembled by Garnet and approved by Receiver regarding the DeVille Assets for

         prospective bidders via a secure data room. The information available will include data

         files, account document examples, and the proposed sale agreement. To access the secure

         data room, prospective bidders must execute a nondisclosure agreement substantially in

         the form as the one attached to this Motion as Exhibit A-1. During the Due Diligence

         Period, prospective bidders will be able to conduct on-site due diligence at DeVille, 9151

         Boulevard 26, North Richland Hills, Texas 76180. The specific time for each prospective

         bidder’s on-site due diligence will be scheduled after the initial due diligence phase begins

         and is intended to occur in the second half of the Due Diligence Period. To the extent

         needed or requested, onsite due diligence may also be conducted via Zoom, WebEx, or by

         another virtual method to be agreed upon by the Receiver, Garnet, and the prospective



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         bidder. See Ex. A, Milligan Declaration at ¶ 13.

                   c.   Bid Date.       At 2:00 p.m. EST on the first Tuesday after the Due

         Diligence Period concludes, Garnet will accept bids for the DeVille Assets (“Bid Date”).

         Bidders must submit a proposed purchase and sale agreement reflecting the terms of their

         offer and complete a bid sheet. A bidder may bid on all of the DeVille Assets or some of

         the DeVille Assets. Specifically, a bidder may bid on (1) the DeVille Assets, (2) the entire

         collection of DeVille Portfolios, (3) industry defined segments of the DeVille Portfolios,

         or (4) the DeVille Platform. The bid sheet will identify the different assets that Accredited

         Bidders can bid on, including the different industry defined segments of the DeVille

         Portfolios. Bids must be submitted to Garnet online at: www.garnetcapital.com, via email

         at bids@garnetcapital.com, or via facsimile at (914) 992-7690. See Ex. A, Milligan

         Declaration at ¶ 14.

                   d.   Accredited Bidders. To submit a valid bid, the bidder must constitute an

         Accredited Bidder.      To be an Accredited Bidder, one must (a) have executed the

         nondisclosure agreement referenced in paragraph 9(b); (b) deliver financial information

         acceptable to Garnet demonstrating that the potential bidder can timely close on a proposed

         transaction by providing proof of funds in amount of no less than the amount of its

         submitted bid or a copy of a letter of credit in the amount of its submitted bid; and (c) have

         completed a full registration with Garnet. See Ex. A, Milligan Declaration at ¶ 15.

         Accredited Bidders that are not banks or credit unions must pass Garnet’s vetting process,

         which includes a more stringent review for those who are seeking to purchase charged-off

         debt. As part of Garnet’s standard vetting process, Garnet conducts searches with the

         Office of Foreign Assets Control, the Consumer Financial Protection Bureau, and the



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         Better Business Bureau. It also researches negative news articles, the entity’s website, and

         LinkedIn.

                   e.   Qualifying Bids. Each bid shall satisfy the requirements set forth below.

         The bidder shall provide a letter of explanation if the bidder cannot or does not provide the

         below information. The Receiver, in his sole business judgment and after consultation with

         Garnet, has the right to waive compliance with any of these requirements based on the

         bidder’s explanation.

                 i.     The bid must be submitted on the Bid Date.

                ii.     The bid must be in writing and identify whether the bid is for all of the

                        DeVille Assets, all of the DeVille Portfolio, certain industry-defined

                        segments of the DeVille Portfolios, or the DeVille Platform. If the bid is

                        for more than one of DeVille’s asset or more than one segment of the

                        DeVille Portfolios, i.e. a segment of the DeVille Portfolios and the DeVille

                        Platform, the bid must allocate the purchase price for each asset or category

                        upon which a bid is being made.

               iii.     The bid must contain no financing contingencies, due diligence

                        contingencies, or any other conditions precedent.

               iv.      The bid must remain open and irrevocable and unchangeable (except to

                        increase the purchase price) until it is either (i) accepted as the highest and

                        best bid at the auction and, if so accepted, through the closing of the sale,

                        or (ii) rejected at the close of the auction;

                v.      The bid must not be subject to the approval of the bidder’s board of directors

                        or any other approval body of such bidder; and



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               vi.      The bid must contain a sales contract that is blacklined from the one

                        provided by the Receiver and/or Garnet, a completed bid sheet, and the

                        financial documentation identified in Paragraph 9(d) establishing the bidder

                        as an Accredited Bidder.

                   f.   Sealed-Bid Sale. After the Bid Date, Garnet will provide the Receiver with

         all bids received. After evaluating all bids, the Receiver will determine, in his sole business

         judgment and after consultation with Garnet, whether it is necessary to make any

         counteroffers or allow Accredited Bidders to submit a second round of bids as their highest

         and best offer. See Ex. A, Milligan Declaration at ¶ 16. A counteroffer or second round

         of bids may be necessary if more than one bid is received for the same price, the bids

         received are substantially equal after evaluating all factors, and/or to provide bidders the

         opportunity to match certain non-monetary terms in the offer. The Receiver anticipates

         announcing the winning bid or bids within ten (10) business days after the conclusion of

         the bidding. See id.

                   g.   Evaluation of Bids. The Qualified Bidder(s) that submits the highest and

         best bid, as determined by the Receiver in his sole discretion after consultation with Garnet

         and legal counsel, shall be deemed the “Successful Bidder(s).” The highest and best bid(s)

         may be determined by considering, among other things:

                 i.     the purchase price;

                ii.     the likelihood that a Qualified Bidder can, and will, close the proposed

                        transaction;

               iii.     if the bid is not for all of the DeVille Assets, whether there are other bids

                        such that all of the DeVille Assets can be sold;



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               iv.        the net benefit to the Receivership Estate, and

                v.        such other factors as the Receiver may deem relevant in his sole discretion.

         See Ex. A, Milligan Declaration at ¶ 17. Within three business days after the Successful

         Bidder(s) are announced and if not already done, the Successful Bidder(s) must complete

         and sign all agreement(s), contract(s), instrument(s) or other document(s) evidencing and

         containing the terms and conditions upon which the highest and best bid was made.

                   h.     Notice of The Auction. Before the Bid Date, the Receiver will file with the

         Court and serve on all Known Parties of Interest a notice of the proposed auction (“Notice

         of Auction”). Any Known Parties of Interest appearing in this case shall receive a copy of

         the Notice of Auction and this Motion through the Court’s CM/ECF filing system. All

         other Known Parties of Interest shall receive a copy of the Notice of Auction and this

         Motion through regular U.S. Mail. The form Notice of Auction is attached hereto as

         Exhibit B. The Receiver will also post a copy of the Notice of Auction on the Receiver’s

         website for this case, www.merrill-ledford.com, to provide notice to the public of the

         proposed sale. See Ex. A, Milligan Declaration at ¶ 18.

                   i.     Notice Procedures. All Known Parties of Interest will have notice of and

         the opportunity to object to the sale of the DeVille Assets by service of this Motion.

         Additionally, the Receiver will provide notice of the Bid Date to all Known Parties of

         Interest at least thirty (30) days before the Bid Date. The Receiver will file with the Court

         and serve on all Known Parties of Interest a notice that is in substantially the same form as

         the one below.

                   Please be advised that pursuant to the Order entered on
                   ___________, __, 2020, in Securities and Exchange Commission v.
                   Kevin B. Merrill et al., Civil Action No. 1:18-cv-02844-RDB, the
                   Court-appointed Receiver Gregory S. Milligan will conduct a


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                   sealed-bid auction of DeVille Asset Management, Ltd.’s assets. The
                   assets to be sold include DeVille’s debt portfolios and its ongoing
                   business (collectively “DeVille’s assets”).

                   Garnet Capital Advisors, LLC (“Garnet”) is facilitating the auction
                   of DeVille’s assets. Garnet will accept bids for the DeVille
                   Portfolios and the DeVille Platform on __________, __, 2020.

                   You should have already received a copy of the Receiver Gregory
                   S. Milligan’s Motion to Approve The Sale of and Procedures for the
                   Sale of the Assets of DeVille Asset Management, Ltd., an
                   opportunity to object to the Motion, and the Court’s order granting
                   the Motion.

                   Pursuant to the Court’s___________, __, 2020 Order and after the
                   conclusion of the sealed-bid sale, it is anticipated that the Successful
                   Bidder(s) will be announced within 10 business days after the
                   auction. The Receiver is approved to close on the sale as soon as
                   practicable after the Successful Bidder(s) are announced.

                   If you have any questions regarding this Notice, please contact the
                   Receiver’s counsel, _____________ at _________.

                   j.     Amendment of DeVille Sales Procedures. The Receiver may: (a) impose at

         or before the auction such other and additional terms and conditions as he deems

         appropriate, and/or (b) adjourn the auction to a later date and time.

                   k.     Closing the Sale and Payment of Breakup Fee. After the winning bid is

         announced, the Receiver shall, without need for further Court approval, proceed to close

         the sale with the Successful Bidder or Successful Bidders. No bidder or other party-in-

         interest shall be entitled to any breakup fee, expense reimbursement of its costs, expenses

         or professional fees incurred in connection with the sale and competitive bidding process

         for the DeVille Assets, including the DeVille Portfolio and DeVille Platform, including

         formulation and submission of any bid or any due diligence efforts, or breakup, termination

         or similar fee or payment.

                   l.     Private Sale. The Receiver reserves the right to seek authority from the


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         Court to sell the DeVille Portfolios or the DeVille Platform by a private sale if the best

         interests of the Receivership Estate would be served by a private sale.

                    m.     Sales Free and Clear. If the Court grants this motion, the Receiver’s sale of

         the DeVille Portfolios and/or DeVille Platform shall be free and clear of all liens, claims,

         and encumbrances, unless the Court orders that such liens, claims, or encumbrances shall

         attach to the proceeds of such auction. If any party asserts a lien, claim, or encumbrance

         on the DeVille Portfolios and/or DeVille Platform to be sold and if the lien, claim, or

         encumbrance is not resolved prior to the Bid Date or the closing of the sale of the asset,

         such sale may go forward to closing, with a determination of the extent, validity and/or

         priority of the alleged lien, claim or encumbrance to be made by the Court at a later date.

                    n.     Report of Sales Results. The Receiver shall, when reporting on the

         Receivership Estate generally, report on the completion of any sale of the DeVille Assets

         that closed during the applicable period. The Receiver will also post a notice of completion

         of the auction process on the Receiver’s website, www.merrill-ledford.com, within thirty

         days after the closing of the last sale of the DeVille Assets. See Ex. A, Milligan Declaration

         at ¶ 19.

         13.        The Receiver has numerous assets to manage, preserve, and potentially liquidate in

order to maximize the value of the Receivership Assets, including the DeVille Assets. Pursuant

to the Receivership Order, the Receiver is to take such action as necessary and appropriate for the

preservation of all Receivership Assets and, if necessary and upon approval from the Court, to

oversee an orderly liquidation to preserve the value of the Receivership Assets. See Ex. A,

Milligan Declaration at ¶ 10; Dkt. No. 62 at ¶¶ 40, 42.

         14.        The DeVille Portfolios are one of the largest, if not the largest, asset of the



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Receivership Estate. Allowing a sale of the DeVille Assets will result in a liquid asset for the

Receivership Estate and will maximize the value of the Receivership Assets. Implementation of

the DeVille Sales Procedures will enable the Receiver to sell the DeVille Assets in an orderly,

efficient, and equitable manner and to maximize the proceeds received from such sales. The sale

of the DeVille Assets pursuant to the DeVille Sales Procedures is in the best interests of the

Receivership Estate. See Milligan Declaration at ¶ 22.

                                     III.    CONCLUSION

         WHEREFORE, the Receiver respectfully requests that this Court enter an order: (i)

granting this Motion; (ii) authorizing the Receiver to adopt and follow the DeVille Sales

Procedures described in this Motion; (iii) authorizing the Receiver to sell the DeVille Assets, free

and clear of liens, claims, and encumbrances (with such liens, claims, and encumbrances, if any,

to attach to the sales proceeds), pursuant to the DeVille Sales Procedures; and (iv) granting such

other relief as the Court deems just and proper.

Date: June 9, 2020.                           Respectfully Submitted,

                                              /s/ Lynn H. Butler
                                              Lynn H. Butler, pro hac vice
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                                               Tel: (202) 378-2300
                                               Fax: (202) 378-2318
                                               brian.waagner@huschblackwell.com

                                               Counsel for Receiver Gregory S. Milligan

                                  CERTIFICATE OF SERVICE

        On June 9, 2020, I electronically submitted the foregoing document with the clerk of the
court of the U.S. District Court for the District of Maryland, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically through the Court’s CM/ECF filing system for all parties who have registered to
receive electronic service. Additionally, the foregoing document was served on the following
parties not registered for Court’s CM/ECF filing system as indicated below:

         Defendant Kevin B. Merrill (via U.S. Mail):

         Kevin B. Merrill, #64274-037
         FCI Allenwood Low
         Federal Correctional Institution
         P.O. Box 1000
         White Deer, PA 17887

         Defendant Jay B. Ledford (via U.S. Mail):

         Jay B. Ledford, #55055-048
         FCI Safford
         Federal Correctional Institution
         P.O. Box 9000
         Safford, AZ 85548

         Criminal Counsel for Defendant Kevin B. Merrill (via E-Mail and U.S. Mail):

         Elizabeth Genevieve Oyer
         Office of the Federal Public Defender
         100 S Charles St Ste 900 Tower II
         Baltimore, MD 21201
         liz_oyer@fd.org




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         Office of the Federal Public Defender
         100 S Charles St, Tower II, 9th Floor
         Baltimore, MD 21201
         maggie_grace@fd.org

         Criminal Counsel for Defendant Jay B. Ledford (via E-Mail and U.S. Mail):

         Harry J Trainor, Jr.
         Trainor Billman Bennett and Milko LLP
         116 Cathedral St Ste E
         Annapolis, MD 21401
         htrain@prodigy.net

         Criminal Counsel for Defendant Cameron R. Jezierski (via E-Mail and U.S. Mail):

         Joseph J Aronica
         Duane Morris LLP
         505 9th St NW Ste 1000
         Washington, DC 20004
         jjaronica@duanemorris.com

         Criminal Counsel for Relief Defendant Amanda Merrill (via E-Mail and U.S. Mail):

         Addy R. Schmitt
         Ian Herbert
         Miller & Chevalier Chartered
         900 16th St NW
         Washington, DC 20006
         aschmitt@milchev.com
         iherbert@milchev.com

         Relief Defendant Lalaine Ledford (via U.S. Mail):

         Lalaine Ledford
         10512 Courtney Cove Ave.
         Las Vegas, NV 89144
         lalainebarretto@yahoo.com

         Baltimore County Office of Law (via E-Mail and U.S. Mail):

         Susan B. Dubin
         Baltimore County Office of Law
         400 Washington Avenue
         Towson, Maryland 21204
         sdubin@baltimorecountymd.gov


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         Dundalk United Methodist Church (U.S. Mail):

         Dundalk United Methodist Church
         c/o Edward F. Mathus
         6903 Mornington Road
         Baltimore, Maryland 21222

         Lienholders, Tax Assessors, and Other Interested Parties (U.S. Mail):

         Florida Community Bank, N.A.
         2325 Vanderbilt Beach Road
         Naples, Florida 34109

         Mortgage Electronic Registration Systems, Inc.
         PO Box 2026
         Flint, Michigan 48501-2026

         Collier County, Florida Tax Assessor
         3291 Tamiami Trail East
         Naples, Florida 34112

         Maryland Department of Assessments & Taxation
         301 W. Preston Street
         Baltimore, Maryland 21201-2395

         Branch Banking and Trust Company,
         A North Carolina Banking Corporation
         PO Box 1290
         Whiteville, North Carolina 28472

         Talbot County, Maryland Finance Office
         Talbot County Courthouse
         11 North Washington Street, Suite 9
         Easton, Maryland 21601

         HSBC Bank USA, National Association, as trustee of
         J.P. Morgan Alternative Loan Trust 2006-A5
         c/o Howard n. Bierman, Trustee
         c/o Select Portfolio Servicing, Inc.
         3815 Southwest Temple
         Salt Lake City, Utah 84115

         Clark County, Nevada Tax Assessor
         500 S. Grand Central Parkway
         Las Vegas, Nevada 89155


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         First Financial Bank, N.A. Southlake
         3205 E. Hwy. 114
         PO Box 92840
         Southlake, Texas 76092

         Hunter Kelsey of Texas, LLC
         4131 Spicewood Springs Road, Bldg. J-1A
         Austin, Texas 78759

         Frost Bank, f/k/a The Frost National Bank
         c/o Michael J. Quilling
         Quilling, Selander Lownds, Winslett & Moser, P.C.
         2001 Bryan Street, Suite 1800
         Dallas, Texas 75201

         The City of Colleyville, Texas
         c/o Victoria W. Thomas
         Nichols, Jackson, Dilard, Hager & Smith, L.L.P.
         1800 Lincoln Plaza
         500 North Akard
         Dallas, Texas 75201

         Tarrant County, Texas Tax Assessor
         100 E. Weatherford
         Fort Worth, Texas 76196

         J Trust
         c/o Hillary RE. Badrow, Trustee
         2801 Paramount Boulevard
         Amarillo, Texas 79109

         Dallas Central Appraisal District
         2949 N. Stemmons Freeway
         Dallas, Texas 75247-6195

         Bozeman West
         PO Box 1970
         15632 West Main Street
         Bozeman, Montana 59771-1970

         Neil A. Patel
         5308 Burgandy Court
         Colleyville, Texas 76034




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         TIB – The Independent BankersBank
         350 Phelps Court, Suite 200
         PO Box 560528i
         Dallas, Texas 75356-0528

         Wachovia Mortgage, FSB
         PO Box 659548
         San Antonio, Texas 78265-9548

         Denton County Tax Assessor
         1505 E. McKinney Street
         Denton, Texas 76209-4525

         Potter County, Texas Tax Assessor
         900 South Polk, Suite 106
         Amarillo, Texas 79101

         Wells Fargo Home Mortgage
         P.O. Box 10335
         Des Moines, IA 50306

         Albertelli Law
         Attn: Coury M. Jacocks
         2201 W. Royal Lane, Suite 155
         Irving, TX 75063

         Samuel I. White, P.C.
         5040 Corporate Woods Drive, Suite 120
         Virginia Beach, VA 23462


                                             /s/ Lynn H. Butler
                                             Lynn H. Butler




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